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                                UNITED STATES DISTMCT COURT
                                WESTERN DISTRICT OF LOUISIANA
                                     LAFAYETTE DIVISION

  STATE OF LOUISIANA ET AL                                     CASE NO. 6:22-CV-00885

  VERSUS                                                       JUDGE ROBERT R. SUMMERHAYS

  CENTERS FOR DISEASE CONTROL &                                MAGISTRATE JUDGE CAROL B.
  PREVENTION, ET AL                                            WHITEHURST


                                                    ORDER

          Presently before the Court is the Plaintiff States9 Motion for Temporary Restraining Order and to

  Compel Production of Information [ECF No. 24]. The Court has now received the opposition to the Motion

  filed by the Defendants. Based on the Court's review of the opposition,


          IT IS ORDERED THAT if the Plaintiff States wish to respond to the Defendants' opposition, they

  shall file such response no later than noon Central Time on Monday, April 25, 2022;

          IT IS FURTHER ORDERED THAT the parties are to promptly confer on an expedited discovery

  plan that addresses: (1) the discovery identified in the Plaintiff States5 Motion for Temporary Restraining

  Order; and (2) any discovery in connection with the evidentiary hearing on the Motion for Preliminary

  Injunction; and

          IT IS FURTHER ORDERED THAT the Court will hold a status conference with counsel for the

  parties on Monday, April 25, 2022 at 3:00 p.m. Central Time via Zoom. Only counsel of record for the


  parties will be permitted to attend the status conference.


          THUS DONE in Chambers on this 22nd day of April, 2022.




                                                                  ROBERT R. SUMMERHAYS
                                                               UNITED STATES DISTRICT JUDGE
